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                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF PUERTO RICO

    In re:                                                                PROMESA
                                                                          Title III
    THE FINANCIAL OVERSIGHT AND
    MANAGEMENT BOARD FOR PUERTO RICO,                                     No. 17 BK 3283-LTS

              as representative of                                        Re: ECF No. 13,438

    THE COMMONWEALTH OF PUERTO RICO, et al.,                              (Jointly Administered)

                                       Debtors. 1

    HON. WANDA VÁZQUEZ GARCED (in her official
    capacity), and THE PUERTO RICO FISCAL
    AGENCY AND FINANCIAL ADVISORY
    AUTHORITY,

                                       Plaintiffs,
              v.                                                          Adv. Pro. No. 20-00081-LTS
    THE FINANCIAL OVERSIGHT AND
    MANAGEMENT BOARD FOR PUERTO RICO,                                     Re: ECF No. 1
                                       Defendant.


                 NOTICE OF VOLUNTARY DISMISSAL OF
    ADVERSARY COMPLAINT FOR DECLARATORY RELIEF RELATED TO ACT 90

             PLEASE TAKE NOTICE that, under Federal Rule of Civil Procedure 41(a)(1)(A)(1),

Hon. Wanda Vázquez Garced, in her official capacity as the Governor of the Commonwealth of

Puerto Rico (the “Governor”), and the Puerto Rico Fiscal Agency and Financial Advisory


1
 The Debtors in these Title III cases, along with each Debtor’s respective Title III case number listed as a bankruptcy
case number due to software limitations and the last four (4) digits of each Debtor’s federal tax identification number,
as applicable, are the (i) Commonwealth of Puerto Rico (the “Commonwealth”) (Bankruptcy Case No. 17-BK-3283
(LTS)) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax Financing Corporation (“COFINA”)
(Bankruptcy Case No. 17-BK-3284 (LTS)) (Last Four Digits of Federal Tax ID: 8474); (iii) Puerto Rico Highways
and Transportation Authority (“HTA”) (Bankruptcy Case No. 17-BK-3567 (LTS)) (Last Four Digits of Federal Tax
ID: 3808); and (iv) Employees Retirement System of the Government of the Commonwealth of Puerto Rico (“ERS”)
(Bankruptcy Case No. 17-BK-3566(LTS)) (Last Four Digits of Federal Tax ID: 9686); (v) Puerto Rico Electric Power
Authority (“PREPA”) (Bankruptcy Case No. 17-4780 (LTS)) (Last Four Digits of Federal Tax ID: 3747); and (vi)
Puerto Rico Public Buildings Authority (“PBA”) (Bankruptcy Case No. 19-BK-5233-LTS) (Last Four Digits of
Federal Tax ID: 3801) (Title III case numbers are listed as Bankruptcy Case numbers due to software limitations).
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Authority (“AAFAF,” together with the Governor, the “Plaintiffs”), hereby dismiss this action

without prejudice. [Adversary Proceeding No. 20-00081-LTS, Case No. 17-3283, Docket No.

13,438]. On July 16, 2020, defendant the Financial Oversight and Management Board for Puerto

Rico notified Plaintiffs that the FOMB will not seek to enjoin the implementation of Act 90. As a

result, the Government of Puerto Rico will fully implement Act 90. Therefore, Plaintiffs request

that the captioned adversary proceeding be dismissed, without prejudice.




                          [Remainder of page intentionally left blank]
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Dated: July 16, 2020
       San Juan, Puerto Rico

 Respectfully submitted,

 /s/ Peter Friedman                      /s/ Luis C. Marini-Biaggi

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 and the Puerto Rico Fiscal Agency and
 Financial Advisory Authority
